                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

 CEDRIC GREENE,                                     )
                                                    )
          Plaintiff,                                )
                                                    )    No. 3:23-cv-00278
 v.                                                 )
                                                    )    JUDGE RICHARDSON
 FRONTIER AIRLINES, INC.,                           )
                                                    )
          Defendant.                                )

                                             ORDER

         Plaintiff Cedric Greene filed a pro se Complaint against Frontier Airlines, Inc. (Doc. No.

1.) The Court granted pauper status and ordered Greene to show cause why the Court has subject-

matter jurisdiction over this case. (Doc. No. 4.) In response, Plaintiff filed a motion that requests

either a change of venue or an order that “give[s] Greene the permission to relocate the case[ ]

himself without any legal consequences.” (Doc. No. 5.) The Court liberally construes this filing as

a motion to transfer or, in the alternative, for voluntary dismissal under Federal Rule of Civil

Procedure 41(a)(1)(A)(i).

         Plaintiff, however, fails to suggest a transferee district; moreover, Plaintiff appears to

suggest that he may be barred from litigating in several districts. (Doc. No. 5). Because the Court

has not been presented with adequate information, it cannot determine the most appropriate venue

for transfer, see 28 U.S.C. § 1391(b), or whether transfer would serve the interests of justice. See

28 U.S.C. § 1406(a). The motion to transfer (Doc. No. 5) is therefore DENIED. In the alternative,

however, Plaintiff satisfies the requirements for voluntary dismissal under Rule 41(a)(1)(A)(1),

which is self-executing. Pursuant thereto, the Complaint is DISMISSED WITHOUT

PREJUDICE. A plaintiff whose case is dismissed without prejudice is generally “placed in a legal




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position as if he had never brought the first suit and has the right to bring a later suit on the same

cause of action without adjudication of the merits,” Dearth v. Mukasey, 516 F.3d 413, 415 (6th

Cir. 2008) (citations and quotation marks omitted), subject to all applicable rules and time limits.

The Clerk shall close the case.

       IT IS SO ORDERED.




                                               ________________________________
                                               ELI RICHARDSON
                                               UNITED STATES DISTRICT JUDGE




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